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     HEATHER E. WILLIAMS, #122664
1    Federal Defender
     MATTHEW C. BOCKMON, #161566
2    Assistant Federal Defender
     801 I Street, 3rd Floor
3    Sacramento, CA 95814
     Telephone: (916) 498-5700
4
     Attorneys for Defendant
5    CARRIE MARKIS
6
7
                                    UNITED STATES DISTRICT COURT
8
                                 EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    ) Case No. 2:19-cr-062 JAM
                                                  )
11                        Plaintiff,              ) WAIVER OF PERSONAL APPEARANCE;
                                                  ) ORDER
12         v.                                     )
                                                  )
13   CARRIE MARKIS,                               )
                                                  )
14                        Defendant.              )
                                                  )
15
            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, CARRIE
16
     MARKIS, hereby waives the right to be present in person in open court upon the hearing of any
17
     motion or other proceeding in this case, including, but not limited to, when the case is set for
18
     trial, when a continuance is ordered, and when any other action is taken by the court before or
19
     after trial, specifically, appearances for any hearing regarding modification of conditions of
20
     supervised release, except upon arraignment, plea empanelment of jury and imposition of
21
     sentence.
22
            Defendant hereby requests the Court to proceed during every absence which the Court
23
     may permit to this waiver; agrees that defendant’s interests will be deemed represented at all
24
     times by the presence of the defendant’s attorney, the same as if the defendant were personally
25
     present; and further agrees to be present in court ready for trial any day and hour the Court may
26
     fix the defendant’s absence.
27
     ///
28
                                                     -1-                     Waiver of Personal Appearance
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1           The defendant further acknowledges being informed of the rights under Title 18 U.S.C.
2    §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and dates
3    under that Act without the defendant’s personal presence.
4           The original signed copy of this waiver is being preserved by the attorney undersigned.
5
     Dated: May 21, 2019
6
7                                                /s/ Carrie Markis
                                                 CARRIE MARKIS
8                                                (Original signature retained by attorney)
9
            I agree and consent to my Client’s waiver of appearance.
10
     Dated: May 21, 2019
11
                                                 /s/ Matthew C. Bockmon
12                                               MATTHEW C. BOCKMON
                                                 Assistant Federal Defender
13                                               Attorney for Defendant
                                                 CARRIE MARKIS
14
15          IT IS SO ORDERED.

16   Dated: May 21, 2019

17                                               /s/ John A. Mendez___________
                                                 HON. JOHN A. MENDEZ
18                                               United States District Court Judge

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                                                   -2-                    Waiver of Personal Appearance
